                            Case 22-14766-SMG                     Doc 35         Filed 09/23/22              Page 1 of 2

CGFD65 (10/01/16)




ORDERED in the Southern District of Florida on September 23, 2022




                                                                                                  Scott M Grossman
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 22−14766−SMG
                                                                                                                 Chapter: 13



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, FL 33317

SSN: xxx−xx−6171




                              ORDER DETERMINING DEBTOR'S
                     COMPLIANCE WITH FILING REQUIREMENTS OF §521(a)(1)

       Pursuant to 11 U.S.C. §521(i), if an individual debtor in a voluntary case under chapter 7 or 13 fails to
file all of the information required under 11 U.S.C. §521(a)(1) within 45 days after the date of the filing of
the petition, the case shall be automatically dismissed effective on the 46th day after the date of the filing
of the petition.




                                                                    Page 1 of 2
                        Case 22-14766-SMG                Doc 35        Filed 09/23/22   Page 2 of 2




      The information required by 11 U.S.C. §521(a)(1) as provided by the debtor* in this case is complete
to the satisfaction of the trustee and no creditor or other party in interest has filed a request for an order of
dismissal pursuant to 11 U.S.C. §521(i)(2) as provided under Local Rule 1017−2(A)(2). Based upon the
trustee's review, the court has determined that the debtor has complied with the information requirements
of 11 U.S.C. §521(a)(1).

Accordingly, it is

ORDERED:


      1. This case is not subject to automatic dismissal under 11 U.S.C. §521(i)(1) or (2).

      2. If any creditor or other party in interest has any reason to contest the court's finding that the
         debtor has filed all information required by 11 U.S.C. §521(a)(1), that party shall file an
         objection not later than 21 days from the date of the entry of this Order, and serve such
         objection on the trustee, the United States Trustee, debtor, and debtor's counsel, if any. The
         objection should specifically identify the information and document(s) required by 11 U.S.C.
         §521(a)(1) that the debtor has failed to file.

      3. Each creditor or other party in interest served with this Order who does not file an objection
         within the 21 day deadline set forth above has waived the right to file a motion to dismiss this
         bankruptcy case for the debtor's failure to comply with 11 U.S.C. §521(a)(1).

      4. Nothing in this Order shall excuse the debtor's duty to cooperate with the United States
         Trustee and the trustee assigned to this case, and shall not prevent the United States Trustee
         or case trustee from requesting by any authorized means, including, but not limited to motion,
         that the debtor supply further information.


The clerk shall serve a copy of this order on all parties of record.




                                                               ###


    * All references to "debtor" shall include and refer to both of the debtors in a case filed jointly by two
                                                  individuals.




                                                           Page 2 of 2
